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                    IN THE U.S DISTRICT COURT, MIDDLE DISTRICT OF
                               FLORIDA, ORLANDO DIVISION




 VAIBHAV PHUKELA,

                       PLAINTIFF,
        v.                                                    Case No.6:21-cv-919

 A ONE AUTO SALES, LLC, DESMOND
 JOSEPH, MEETA JOSEPH AND
 MEETA JOSEPH, LLC,

                       DEFENDANTS.




                          ANSWER AND AFFIMATIVE DEFENSES

        COMES NOW Plaintiff, through undersigned counsel and pursuant to the Federal Rules

 of Civil Procedure, and files this Answer and Affirmative Defenses to the Counterclaim of

 Defendants, A One Auto Sales, LLC (“A One”), Desmond Joseph (“Joseph”), Meeta Joseph and

 Meeta Joseph, LLC (“MJLLC”). Plaintiff’s responses are only as to the allegations and claims of

 the Defendants as they pertain to Plaintiff and not the third-party Defendants.

                                             ANSWER

        1.       Admitted.

        2.       Admitted.

        3.       Admitted

        4.       Admitted.

        5.       Admitted.

        6.       Admitted.
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        7.        Admitted.

        8.        Admitted.

        9.        Denied. This entity has been dissolved since 2018.

        10.       Admitted.

        11.       Denied. Federal counterclaims and defenses are inadequate to confer federal

 Jurisdiction. The well-pleaded complaint rule does not allow a counterclaim to serve as the basis

 for a district court’s “arising under” jurisdiction. Where, as here, the only basis for removal is the

 assertion of a federal counterclaim, the Court lacks subject matter jurisdiction.

        12.       Denied.

        13.       Denied.

        14.       Admitted.

        15.       Plaintiff and Joseph are Canadian citizens. Otherwise denied.

        16.       Plaintiff lacks sufficient knowledge to answer or deny these allegations.

        17.       Plaintiff formed MRV Investments, and he and his mother purchased a gas station.

 Otherwise denied.

        18.       It was Joseph that approached Plaintiff for funding. Admitted that Plaintiff does

 have certain immigration experience. Otherwise denied including as mischaracterized and vague.

        19.       Plaintiff does have certain immigration experience. Otherwise denied.

        20.       Denied.

        21.       Denied.

        22.       Denied.

        23.       Admitted only that Plaintiff stayed at the Joseph’s home for a short time in 2017.

 Otherwise denied.
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           24.   Denied.

           25.   Plaintiff lacks sufficient knowledge to answer or deny these allegations.

           26.   Plaintiff lacks sufficient knowledge to answer or deny these allegations.

           27.   Plaintiff did form Esso Canada, LLC. Otherwise denied.

           28.   Denied.

           29.   Plaintiff lacks sufficient knowledge to answer or deny these allegations. Otherwise

 denied.

           30.   Denied.

           31.   Denied.

           32.   Denied.

           33.   Denied.

           34.   Denied.

           35.   Denied.

           36.   Admitted only that an agreement exists and that such agreement including its

 mandatory and binding arbitration provision speak for themselves.

           37.   Joseph breached the agreement from its inception in multiple material ways and

 was not entitled to the payments he alleges. Otherwise denied.

           38.   Denied.

           39.   Denied.

           40.   Admitted.

           41.   Denied.

           42.   Denied.

           43.   Denied.
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        44.      Denied.

        45.      Admitted that Plaintiff performed some of these services and others for A One.

 Plaintiff also washed and repaired cars. Joseph and Plaintiff had access to the bank accounts as

 well as Meeta Joseph. Otherwise, denied.

        46.      Denied.

        47.      Denied.

        48.      Denied.

        49.      Denied.

        50.      Denied.

        51.      Denied.

        52.      Denied.

        53.      Any such work was approved by Joseph. Otherwise denied.

        54.      Denied.

        55.      Denied.

        56.      Denied. This purported deal was directed by Joseph.

        57.      Admitted as directed by Joseph. Otherwise denied.

        58.      Admitted only that any failure of this deal was caused by Joseph’s spending of the

 money. Otherwise, Denied.

        59.      Denied. Payments for these tucks came from First Power.

        60.      Mr. Bozzuto withdrew his own cash; the $21,590 was Mr. Bozzuto paying his

 own rent and other expenses as related to a Lake County Court case; Mr. Bozzuto Transferred

 $70,000 into First power by the direction of Joseph and the funds were also used to pay for
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 inventory of cars for A One, as Mr. Joseph had full access to the accounts, and it also paid for the

 personal expenses of Mr. Joseph. Otherwise denied.

        61.      Plaintiff lacks sufficient knowledge to answer or deny these allegations.

 Otherwise denied.

        62.      Admitted.

        63.      Admitted as to most but not all cars.

        64.      Denied. All such records and items are in the possession of Joseph and A One.

        65.      Denied.

        66.      Denied.

        67.      Denied.

        68.      Denied.

        69.      Denied.

        70.      Denied.

        71.      Denied.

        72.      Admitted.

        73.      Admitted that Plaintiff attempts to assert such cause of action. Otherwise denied.

        74.      Plaintiff’s responses to the allegations of paragraphs 1 through 72 are hereby

 incorporated by reference.

        75.      Denied.

        76.      Denied.

        77.      Denied. Plaintiff denies each of the Defendants’ wherefore clauses in their

 Counterclaims alleged against Plaintiff.

        78.      Admitted that Defendants attempt to assert such cause of action. Otherwise
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 denied.

           79.   Plaintiff’s responses to the allegations of paragraphs 1 through 72 are hereby

 incorporated by reference.

           80.   Denied.

           81.   Denied.

           82.   Denied.

           83.   Denied.

           84.   Admitted Defendants attempt to assert such cause of action. Otherwise denied.

           85.   Plaintiff’s responses to the allegations of paragraphs 1 through 72 are hereby

 incorporated by reference.

           86.   Denied.

           87.   Denied.

           88.   Denied.

           89.   Denied.

           90.   Denied.

           91.   Admitted Defendants attempt to assert such cause of action. Otherwise denied.

           92.   Plaintiff’s responses to the allegations of paragraphs 1 through 72 are hereby

 incorporated by reference.

           93.   Denied.

           94.   Denied.

           95.   Denied.

           96.   Denied.

           97.   Denied.
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        98.      Denied.

        99.     Plaintiff’s responses each of the prior allegations of the Counterclaim are hereby

 incorporated by reference.

        100.    Denied.

        101.    Denied.

        102.    Denied.

        103.    Admitted Defendants attempt to assert such claims. Otherwise denied.

        104.    Plaintiff’s responses to the allegations of paragraphs 1 through 72 are hereby

 incorporated by reference.

        105.    Denied.

        106.    Denied.

        107.    Denied.

        108.    Denied.

        109.    Admitted that Plaintiff attempts to assert such cause of action. Otherwise denied.

        110.    Plaintiff’s responses to the allegations of paragraphs 1 through 72 are hereby

 incorporated by reference.

        111.    Admitted only that once Plaintiff was removed from the property and all access

 from A One, Plaintiff stopped access to the website and email as he was personally paying for it,

 and it did not belong to A One. Otherwise, denied.

        112.    Plaintiff lacks the full and sufficient knowledge to answer or deny these allegations

 as he was not present at A One and did not have access to such information. Otherwise denied.

        113.    Plaintiff lacks the full and sufficient knowledge to answer or deny these allegations

 as he was not present at A One and did not have access to such information. Otherwise denied.
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        114.   Denied.

        115.   Denied.

        116.   Admitted Defendants attempt to assert such cause of action. Otherwise denied.

        117.   Plaintiff’s responses to the allegations of paragraphs 1 through 72 are hereby

 incorporated by reference.

        118.   Admitted Defendants attempt to assert such cause of action. Otherwise denied.

        119.   Denied.

        120.   Denied.

        121.   Denied.

        122.   Denied.

        123.   Denied.

        124.    Denied.

        125.   Admitted Defendants attempts to assert such cause of action. Otherwise denied.

        126.   Plaintiff’s responses to the allegations of paragraphs 1 through 72 are hereby

 incorporated by reference.

        127.   Denied.

        128.   Denied

        129.   Denied.

        130.   Admitted Defendants attempt to assert such cause of action. Otherwise denied.

        131.   Plaintiff’s responses to the allegations of paragraphs 1 through 72 are hereby

 incorporated by reference.

        132.    Denied.

        133.    Denied.
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        134.    No response is required by Plaintiff as this claim is asserted against a third party.

        135.    No response is required by Plaintiff as this claim is asserted against a third party.

        136.    No response is required by Plaintiff as this claim is asserted against a third party.

        137.    No response is required by Plaintiff as this claim is asserted against a third party.

        138.   No response is required by Plaintiff as this claim is asserted against a third party.

        139.   No response is required by Plaintiff as this claim is asserted against a third party.

        140.   No response is required by Plaintiff as this claim is asserted against a third party.

        141.   No response is required by Plaintiff as this claim is asserted against a third party.

        142.   No response is required by Plaintiff as this claim is asserted against a third party.

        143.   Admitted Defendants attempt to assert such cause of action. Otherwise denied.

        144.   Plaintiff’s responses to the allegations of paragraphs 1 through 72 are hereby

 incorporated by reference.

        145.   Denied.

        146.   Denied.

        147.   Denied.

        148.   Denied.

        149.   Denied.

        150.   Denied.

        151.   Denied.

        152.   Denied.

                                  AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       Any relief afforded the Defendants through their Counterclaims shall be set-off by the
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 relief awarded the Plaintiff.

                                 SECOND AFFIRMATIVE DEFENSE

        Defendants’ Counterclaims are barred or subject to dismissal, in whole or in part, for

 failure to state a plausible claim upon which relied may granted as they do not state plausible

 claims for relief and because Defendants combine all of Counterclaim-Plaintiffs’ claims together

 in the Counts of the Counterclaim and assert such claims against the Plaintiff and the separate

 third-party Defendants generally without specifying which facts support the claims for a

 particular Counter-plaintiff as to the Plaintiff. This Counterclaim asserts multiple claims against

 multiple parties without specifying which of the parties are responsible for which acts or

 omissions, or what claims are brought against a particular party. In light of the Counterclaim’s

 conclusory language and over-use of incorporations by reference, mere reference to “all the

 Phukela Parties”, “all the Joseph Parties” and that “the transactions between the parties are

 extensive and complicated” does not give fair notice to Plaintiff of what |claim and allegations

 are against him and the grounds upon which they rest. This applies to each of the claims in the

 Counterclaim.

                                 TIHRD AFFIRMATIVE DEFENSE

        Defendants’ Counterclaims are barred or subject to dismissal, in whole or in part, for

 improper incorporation by reference. Each of the Counts incorporate all or most of the preceding

 material by reference. Such repeated incorporations by reference fill each count with factual

 allegations that could not possibly be material to that specific count in violation of Rule 10(b)’s

 requirement to plead separate claims in separate counts. This makes Plaintiff’s failure-to-state-a

 claim analysis a matter of guesswork rather than a reasoned decision.
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                                 FOURTH AFFIRMATIVE DEFENSE

            Defendants’ equitable accounting claims against Plaintiff are barred or should be

 dismissed because they have failed to sufficiently allege a fiduciary relationship by Plaintiff with

 the Defendants, because their general allegations that the transactions at issue are complex are

 insufficient, and because their legal remedy by definition and based upon their 12 count

 Counterclaim is adequate. To establish a fiduciary relationship, a party must allege some degree

 of dependency on one side and some degree of undertaking on the other side to advise, counsel,

 and protect the weaker party. Defendants failed to so plead. A party seeking an accounting

 based on the complexity of the transaction must show that the transactions are so complicated

 that a jury would not be able to ascertain damages and a remedy at law is inadequate, which the

 Defendants also failed to allege. Defendants assert claims by all the “Joseph Parties” against all

 the “Phukela Parties” for an equitable accounting yet fail to delineate any specific basis to

 support such a claim by any particular “Joseph Party” against any particular “Phukela Party”.

                                  FIFTH AFFIRMATIVE DEFENSE

            The Defendants’ implied contract claims against Plaintiff are barred or should be

 dismissed because an alleged oral or written agreement exists governing the relationship of the

 parties.

                                  SIXTH AFFIRMATIVE DEFENSE

            Defendants’ alter ego doctrine and piercing the corporate veil claims are barred and/or

 subject to dismissal or being stricken, in addition to the grounds previously asserted, because they

 are irrelevant and can only be presented if the corporation itself is found liable and the judgment

 against the corporation is unsatisfied. Defendants also fail to sufficiently allege and cannot

 prove a lack of separateness between the corporation and its shareholder; improper conduct in
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 the use of the corporation by the shareholder; and that the improper conduct was the proximate

 cause of the alleged loss. Defendants have not alleged and cannot show that the corporation’s

 independent existence, was in fact non-existent.

                             SEVENTH AFFIRMATIVE DEFENSE

        Any and all claims relating to Plaintiff and MRV Investments of Canada, LLC are subject

 to binding arbitration.

                              EIGHTH AFFIRMATIVE DEFENSE

        Defendants’ claims are barred in whole or in part by the equitable defense of unclean

 hands that bars relief against Plaintiff for their own inequitable behavior, fraud, or deceit as

 shown, among other ways, by the many false statements in the Counterclaim.

                               NINTH AFFIRMATIVE DEFENSE

        Defendants’ claims, including but not limited to those in Counts 2 through 4 of

 Counterclaim, are barred in whole or in part under the first breach doctrine.

                               TENTH AFFIRMATIVE DEFENSE

        Defendants’ equitable and implied in fact or law claims are barred in whole or in part by

 the alleged existence of oral and written contracts that govern the parties and subject matter.

                            ELEVENTH AFFIRMATIVE DEFENSE

        The tortious interference claims are barred in whole or in part by the protection privilege

 where it is alleged that Plaintiff interfered with a business relationship to protect his own

 contractual and financial interest and because Plaintiff cannot interfere with a business

 relationship to which he was a party.

                             TWELFTH AFFIRMATIVE DEFENSE

        The Defendants’ claim for declaratory judgment, like many of their claims, falls far short
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 of stating a claim upon which relief may be granted. Defendants fail to assert many of the

 required and necessary elements of this cause of action including the present, ascertained or

 ascertainable state of facts or present controversy as to a state of facts; the antagonistic and

 adverse interest(s) are all before the court by proper process and the relief sought is not merely

 giving of legal advice. Defendants’ allegations are vague, conclusory and fail to meet the

 pleading requirements of the Federal Rules of Civil Procedure.

                           THIRTEENTH AFFIRMATIVE DEFENSE

         The claims under the Fair Labor Standards Act in the Counterclaim are barred by the

 applicable statute of limitations. These claims also fail because they do not allege how the

 Defendants are covered employers under FLSA minimum wage and overtime compensation

 requirements or that they are even an enterprise engaged in commerce or in the production of

 goods for commerce. Joseph also failed to allege that he was a covered non-exempt employee

 under the FLSA. Joseph failed to state a claim for a violation of the FLSA because he did not

 allege facts that, if proved, would establish individual or enterprise coverage under the

 FLSA. Joseph makes no allegations regarding coverage or commerce. Joseph makes no specific

 allegations and provides no factual context regarding the hours he allegedly worked without

 adequate compensation. In fact, he worked no hours and his FLSA claim and breach of contract

 claims are frivolous. Joseph fails to establish a plausible claim by not estimating the length

 of his average workweek during the applicable period and the average rate at which he

 was paid, the amount of overtime wages he believes he is owed, or any other facts that

 will permit the court to find plausibility.

                            FORTEENTH AFFIRMATIVE DEFENSE

         The Court lacks subject matter jurisdiction. Plaintiff’s Amended Complaint does not
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 contain any federal question basis for jurisdiction, there is no diversity jurisdiction and

 Defendants’ Counterclaim and Third-Party Claims cannot support federal jurisdiction in this case.

 Federal counterclaims and defenses are inadequate to confer federal jurisdiction. The well-

 pleaded complaint rule does not allow a counterclaim to serve as the basis for a district court’s

 “arising under” jurisdiction. Where, as here, the only basis for removal is the assertion of a

 federal counterclaim, the Court lacks subject matter jurisdiction.

                            FIFTEENTH AFFIRMATIVE DEFENSE

        The claims in the Counterclaim are barred in whole or in part by the Defendants’ failure to

   mitigate damages.

                            SIXTEENTH AFFIRMATIVE DEFENSE

        The contract claims, express and implied, fail for lack of consideration and/or damages.


                                          DATED this 29th day of June 2021
                                          Vincent B. Lynch, Esq.
                                          FL BAR# 0917801
                                          vincent@elpglobal.com
                                          Carlos J. Bonilla M
                                          FL BAR#0588717
                                          carlos@elpglobal.com
                                          ELP Global, PLLC
                                          7901 Kingspointe Parkway, Suite 8
                                          Orlando, Florida 32819
                                          Attorney for Plaintiff

                                          By:     /s/ Vincent B. Lynch
                                                  Vincent B. Lynch
